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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

              v.                           Crim. No. 18-CR-32-2 (DLF)

 CONCORD MANAGEMENT AND
 CONSULTING LLC,

               Defendant.



    GOVERNMENT’S RESPONSE TO DEFENDANT’S MOTION TO DISCLOSE
EX PARTE COMMUNICATIONS BETWEEN THE COURT AND THE GOVERNMENT
          REGARDING THE GOVERNMENT’S INTENTION TO SEEK
                    A SUPERSEDING INDICTMENT

       The United States of America, by and through undersigned counsel, respectfully submits

this response to Defendant Concord Management and Consulting’s Motion to Disclose Ex Parte

Communications Regarding the Government’s Intention to Seek a Superseding Indictment [Dkt.

No. 225]. As the government informed the Court and defense counsel, the government made the

communications that are referenced in defense counsel’s motion ex parte and under seal because

those communications disclosed a matter occurring before the Grand Jury, and Rule 6(e)(2)(B)(vi)

of the Federal Rules of Criminal Procedure prohibits attorneys for the government from disclosing

matters occurring before the Grand Jury. With the Court’s permission, the government provided

defense counsel a copy of its two ex parte, under seal filings. The government does not object to

defense counsel being provided with a copy of all of the ex parte, under seal communications

referenced in Concord’s motion; however, the government has one proposed redaction that it

suggests making to the transcript of the October 29, 2019 telephonic hearing and one proposed

redaction to its October 25, 2019 filing before either are unsealed to the general public, as they


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disclose a matter occurring before the Grand Jury. The government is attaching the proposed

redactions as Exhibits A and B to this pleading. Those exhibits will be provided to the Court ex

parte, and under seal, given that the Court has not yet ruled on the defense’s motion [Dkt. No. 225]

or these proposed redactions by the government.

       WHEREFORE, the government submits that it does not oppose the granting of

Concord’s motion with the exception of one proposed redaction to the October 29th telephonic

hearing transcript and one proposed redaction to the government’s October 25th filing.

                                      Respectfully submitted,


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